Case 5:17-cv-00402-RBD-PRL Document 28 Filed 05/25/18 Page 1 of 2 PageID 131



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION

BRIEN BOWERS,

                    Plaintiff,

v.                                                       Case No: 5:17-cv-402-Orl-37PRL

WELLS FARGO BANK, N.A.,

                    Defendants.


                                 ORDER OF DISMISSAL

      This cause is before the Court upon the filing of the Joint Stipulation of Dismissa l

with Prejudice (Doc. 27) filed February 23, 2018. Accordingly, it is ORDERED AND

ADJUDGED:

      1.     That the above-styled cause is hereby DISMISSED WITH PREJUDICE,

             subject to the right of any party to move the Court within sixty (60) days

             thereafter for the purpose of entering a stipulated form of final order or

             judgment; or, on good cause shown, to reopen the case for further

             proceedings.

      2.     All pending motions are denied as moot and all deadlines and hearings are

             terminated.

      3.     The Clerk is DIRECTED to close this file.

      DONE AND ORDERED in Chambers in Orlando, Florida, on May 25, 2018.
Case 5:17-cv-00402-RBD-PRL Document 28 Filed 05/25/18 Page 2 of 2 PageID 132




Copies: Counsel of Record
